     Case 2:24-cv-00377-SPG-E Document 63 Filed 07/23/24 Page 1 of 1 Page ID #:969




1
2
3
4
5
6                              UNITED STATES DISTRICT COURT
7                             CENTRAL DISTRICT OF CALIFORNIA
8
     AXS GROUP LLC,                                Case No. 2:24-CV-00377-SPG (Ex)
9
10               Plaintiff,                        ORDER GRANTING STIPULATION
                                                   TO EXTEND TIME FOR
11   v.                                            DEFENDANT EVENT TICKETS
12                                                 CENTER, INC. TO RESPOND TO
     INTERNET REFERRAL SERVICES,                   FIRST AMENDED COMPLAINT
13   LCC, EVENT TICKETS CENTER, INC.,
     VIRTUAL BARCODE DISTRIBUTION
14   LLC, ALTAN TANRIVERDI, and
15   SECURE.TICKETS,
16               Defendants.
17         On July 23, 2024 Plaintiff AXS Group LLC and Defendant Event Tickets Center,
18   Inc. filed a Stipulation to Extend Time for Defendant Event Tickets Center, Inc. to Respond
19   to the First Amended Complaint by 30 Days.
20         The Court, having considered the Parties’ Stipulation and finding good cause
21   therefor, hereby GRANTS the Stipulation and ORDERS as follows:
22         The deadline for Defendant Event Tickets Center, Inc. to respond to the First
23   Amended Complaint in this matter is extended from July 29, 2024 to August 28, 2024.
24
25         IT IS SO ORDERED.
26
27   Dated: July 23, 2024
                                                HON. SHERILYN PEACE GARNETT
28
                                                UNITED STATES DISTRICT JUDGE
